Via ECF

Honorable Jesse M. Furman
United States District Judge
Southern District of New York
Thurgood Marshall Courthouse
40 Centre Street, New York, NY

               Re: Khalil v. Joyce, No. 25-cv-1935

Dear Judge Furman:

        Counsel for Petitioner write on behalf of the parties in response to the Court’s March 10,
2025 order directing the parties to confer and address by joint letter whether a March 12, 2025
court conference is necessary and how the Court should handle the pending petition for habeas
corpus (ECF 10). The parties conferred by video link on March 11, 2025 and hereby report as
follows:

       1.     Necessity of a Conference. The parties agree that a conference is necessary to
address scheduling, as the parties do not agree on how the matter should be handled.

       2.      Proposed Process.

               a.      Outstanding Motion to Compel Respondents to Return Petitioner to This
    District. (ECF 11). Respondents take the position that the Court should resolve its
    anticipated Motion to Transfer or Dismiss for Improper Venue, see infra § 2(b), before
    addressing the proposed relief sought in Petitioner’s Motion to Compel Respondents to
    Return Petitioner to This District. Petitioner’s position is that the extraordinary
    circumstances of the case and the nature of the relief sought in that Motion authorize the
    Court to grant immediate relief, independent of the venue question. Respondents disagree
    with Petitioner’s position and intend to oppose that motion, and Respondents respectfully
    submit that the matter of venue and jurisdiction should be resolved first, because
    Respondents position is that if venue is improper, this Court lacks authority to grant any
    relief.

              b.      Respondents’ Proposed Motion to Transfer or Dismiss for Improper
    Venue. Absent agreement by Petitioner to consent to a transfer, Respondents intend to file a
    motion to transfer or dismiss the petition on the grounds that venue is not proper in the
    Southern District of New York, and intend to file such Motion by 11:59 p.m. on
    Wednesday, March 12, 2025. Petitioner agrees to file any opposition to this motion by
    11:59 p.m. on Friday, March 14, 2025. Respondents agree to file any reply by 11:59 p.m.
    on Monday, March 17, 2025.
              c.     Amended Habeas Petition. Petitioner will file an amended habeas petition
    by 11:59 p.m. on Thursday, March 13, 2025.




Dated: March 11, 2025              Respectfully submitted,
New York, NY
                                   CLEAR PROJECT
                                   MAIN STREET LEGAL SERVICES, INC.

                                   _____/s/__________________________
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                                   CENTER FOR CONSTITUTIONAL RIGHTS

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